         Case 3:22-cv-01223-JBA Document 28 Filed 02/03/23 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 EDDIE GRANT, JR., JENNIFER HAMILTON;                        CIV. NO. 3:22-cv-01223-JBA
 MICHAEL STIEFEL; CONNECTICUT
 CITIZENS DEFENSE LEAGUE, INC.; AND                                 February 3, 2023
 SECOND AMENDMENT FOUNDATION, INC.,

          Plaintiffs,

 v.                                                           EMERGENCY MOTION
                                                               FOR A TEMPORARY
 EDWARD M. LAMONT, JR., in his official capacity;             RESTRAINING ORDER
 JAMES ROVELLA, in his official capacity;                     AND A PRELIMINARY
 PATRICK GRIFFIN, in his official capacity;                      INJUNCTION
 MARGARET E. KELLY, in her official capacity;
 DAVID R. APPLEGATE, in his official capacity;
 JOSEPH T. CORRADINO, in his official capacity;
 SHARMESE L. WALCOTT, in her official capacity;
 DAVID R. SHANNON, in his official capacity;
 MICHAEL A. GAILOR, in his official capacity;
 CHRISTIAN WATSON, in his official capacity;
 JOHN P. DOYLE, JR., in his official capacity, PAUL
 J. NARDUCCI, in his official capacity; PAUL J.
 FERENCEK, in his official capacity; MATTHEW C.
 GEDANSKY, in his official capacity, MAUREEN
 PLATT, in her official capacity; ANNE F.
 MAHONEY, in her official capacity,

          Defendants.



       Pursuant to Fed. R. Civ. P. 65 and D. Conn. Local Rule 7, the Plaintiffs hereby

respectfully moves the Court to issue an emergency temporary restraining order and

preliminary injunction against the Defendants. They request the following relief:



ORAL ARGUMENT REQUESTED


                                              1
          Case 3:22-cv-01223-JBA Document 28 Filed 02/03/23 Page 2 of 4




1.     A temporary restraining order barring the Defendants from enforcing Conn. Gen. Stat.

§§ 53-202a, 53-202b, and 53-202c until the Court can determine the merits of their application

for a preliminary injunction.

2.     In the alternative, the Plaintiffs ask the Court to issue a temporary restraining order

enjoining the Defendants from treating firearms that have been considered legal “others”

under Connecticut law as “assault weapons” until the Court can determine the merits of their

application for a preliminary injunction.

3.     A preliminary injunction barring the Defendants from enforcing Conn. Gen. Stat. §§

53-202a, 53-202b, and 53-202c until such time as the Court makes a final determination on

the merits in this matter.

       Finally, the Plaintiffs hereby notify the Court and the Defendants that they are seeking

ex parte and immediate relief.




                                              2
        Case 3:22-cv-01223-JBA Document 28 Filed 02/03/23 Page 3 of 4




Dated: February 3, 2023            Respectfully submitted,

                                       //s// Doug Dubitsky
                                   Doug Dubitsky, Esq.
                                   (ct21558)
                                   LAW OFFICES OF DOUG DUBITSKY
                                   P.O. Box 70
                                   North Windham, CT 06256
                                   Telephone: 860.933.9495
                                   Facsimile: 866.477.1120
                                   Email: doug@lawyer.com


                                      //s// Craig C. Fishbein
                                   Craig C. Fishbein, Esq.
                                   (ct25142)
                                   FISHBEIN LAW FIRM, LLC
                                   100 South Main Street
                                   P.O. Box 363
                                   Wallingford, Connecticut 06492
                                   Telephone: 203.265.2895
                                   Facsimile: 203.294.1396
                                   E-mail: ccf@fishbeinlaw.com

                                      //s// Cameron L. Atkinson
                                   Cameron L. Atkinson, Esq.
                                   (ct31219)
                                   ATKINSON LAW, LLC
                                   122 Litchfield Rd., Ste. 2
                                   P.O. Box 340
                                   Harwinton, CT 06791
                                   Telephone: 203.677.0782
                                   Facsimile: 203.672.6551
                                   Email: catkinson@atkinsonlawfirm.com

                                   Attorneys for the Plaintiff




                                      3
         Case 3:22-cv-01223-JBA Document 28 Filed 02/03/23 Page 4 of 4




                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the foregoing

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by email to all parties and counsel of record who have appeared by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                /s/ Cameron L. Atkinson /s/




                                                4
